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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
DAVIDSON HENAO et al.,                                        :
                                                              :
                                             Plaintiffs,      :   19 Civ. 10720 (LGS)
                                                              :
                           -against-                          :        ORDER
                                                              :
PARTS AUTHORITY, LLC, et al.,                                 :
                                                              :
                                             Defendants. :
------------------------------------------------------------- :
                                                              X

LORNA G. SCHOFIELD, District Judge:

         WHEREAS, on October 20, 2021, the parties filed their Cheeks materials for Opt-In

Plaintiffs Latoya Brown-Gillis, LaTonya Sims and Louis Bolden.

         WHEREAS, on October 27, 2021, the Court denied the parties’ application for approval

of their settlement, and directed the parties to file revised Cheeks materials by November 3, 2021.

         WHEREAS, the parties failed to file revised Cheeks materials by November 3, 2018. It is

hereby

         ORDERED that by November 10, 2021, the parties shall file either (1) the revised

Cheeks materials or (2) a letter regarding the status of settlement negotiations with the Opt-In

Plaintiffs.



Dated: November 5, 2021
       New York, New York
